EXHIBIT N
              Case 2:24-cv-01164-TL Document 10 Filed 08/06/24 Page 1 of 3




 1                                                                THE HONORABLE TANA LIN

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   PACIFIC WATER TECHNOLOGY                          No. 2:24-cv-01164-TL
     LLC et al.,
10                                                     PACIFIC PARTIES’ NOTICE OF
                     Plaintiff(s),                     DISMISSAL WITHOUT PREJUDICE AS
11                                                     TO ALL CLAIMS AGAINST FIRST FED
                     v.                                DEFENDANTS
12
     RYAN R WEAR et al.,
13
                     Defendant(s).
14

15          TO: THE CLERK OF THE COURT

16          TO: ALL PARTIES OF RECORD

17         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs named in the Snohomish County

18   Superior Court action captioned as Pacific Water Technology, LLC et al v. Ryan Wear et al.,

19   Case No. 24-2-02887-31 (the “Pacific Parties”) hereby voluntarily dismiss, without prejudice,

20   their claims in the instant matter against Defendants First Fed Bank, First Northwest Bancorp,

21   Norman Tonina, Craig Curtis, Jennifer Zaccardo, Cindy Finnie, Dana Behar, Matthew Deines,

22   Sherilyn Anderson, Gabriel Galanda, and Lynn Terwoerds (collectively, the “First Fed

23   Defendants”).

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25

                                                                                CORR CRONIN LLP
      PACIFIC PARTIES’ NOTICE OF DISMISSAL                                  1015 Second Avenue, Floor 10
      WITHOUT PREJUDICE                                                    Seattle, Washington 98104-1001
      (2:24-cv-01164-TL) – 1                                                      Tel (206) 625-8600
                                                                                  Fax (206) 625-0900
                Case 2:24-cv-01164-TL Document 10 Filed 08/06/24 Page 2 of 3




 1
             Pacific Parties’ claims against all other Defendants remain live. 1
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             DATED this 6th day of August, 2024.
 4
                                                                  CORR CRONIN LLP
 5

 6
                                                                  s/ John T. Bender
 7                                                                John T. Bender, WSBA No. 49658
                                                                  Kristen F. Barnhart, WSBA No. 51135
 8                                                                CORR CRONIN LLP
                                                                  1015 Second Avenue, Floor 10
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11                                                                kbarnhart@corrcronin.com
                                                                  Counsel for Pacific Parties
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       Wilson v. City of San Jose, 111 F.3d 688, 692 (9th Cir. 1997) (“[Rule 41(a)(1)(A)(i)] dismissal is effective on
     filing and no court order is required.”); see also Duke Energy Trading & Mktg., L.L.C. v. Davis, 267 F.3d 1042,
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     1049 (9th Cir. 2001) (“Once the notice of dismissal has been filed, the district court loses jurisdiction over the
     dismissed claims and may not address the merits of such claims or issue further orders pertaining to them.”).
25

                                                                                              CORR CRONIN LLP
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              Case 2:24-cv-01164-TL Document 10 Filed 08/06/24 Page 3 of 3




 1
                                    CERTIFICATE OF SERVICE
 2
            I hereby certify that on August 6, 2024, I electronically filed the foregoing document
 3
     with the Clerk of the Court using the CM/ECF system, which will send notification of such
 4
     filing to those attorneys of record registered on the CM/ECF system. All parties (if any) shall
 5
     be served in accordance of the Federal Civil Rules of Procedure.
 6
           DATED this 6th day of August, 2024.
 7                                                s/ Paige Plassmeyer
                                                  Paige Plassmeyer, Legal Assistant
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                                                                                 CORR CRONIN LLP
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